Case 0:19-cr-60244-UU Document 69 Entered on FLSD Docket 03/17/2021 Page 1 of 7
           USCA11 Case: 20-10797 Date Filed: 03/17/2021 Page: 1 of 1

                                                                                                         AP
                          UNITED STATES COURT OF APPEALS
                             FOR THE ELEVENTH CIRCUIT
                                                                                       Mar 17, 2021
                             ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                           56 Forsyth Street, N.W.
                                           Atlanta, Georgia 30303
                                                                                                                MIAMI
 David J. Smith                                                                     For rules and forms visit
 Clerk of Court                                                                     www.ca11.uscourts.gov


                                         March 17, 2021

 Clerk - Southern District of Florida
 U.S. District Court
 400 N MIAMI AVE
 MIAMI, FL 33128-1810

 Appeal Number: 20-10797-BB
 Case Style: USA v. Alain Belizaire
 District Court Docket No: 0:19-cr-60244-UU-1

 A copy of this letter, and the judgment form if noted above, but not a copy of the court's
 decision, is also being forwarded to counsel and pro se parties. A copy of the court's decision
 was previously forwarded to counsel and pro se parties on the date it was issued.

 The enclosed copy of the judgment is hereby issued as mandate of the court. The court's opinion
 was previously provided on the date of issuance.

 Sincerely,

 DAVID J. SMITH, Clerk of Court

 Reply to: Lois Tunstall
 Phone #: (404) 335-6191

 Enclosure(s)
                                                                     MDT-1 Letter Issuing Mandate
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           USCA11 Case: 20-10797 Date Filed: 03/17/2021 Page: 1 of 1


                            UNITED STATES COURT OF APPEALS
                                  For the Eleventh Circuit
                                      ______________

                                          No. 20-10797
                                         ______________

                                     District Court Docket No.
                                       0:19-cr-60244-UU-1

 UNITED STATES OF AMERICA,

                                                    Plaintiff - Appellee,

 versus

 ALAIN BELIZAIRE,

                                              Defendant - Appellant.
                        __________________________________________

                        Appeal from the United States District Court for the
                                   Southern District of Florida
                        __________________________________________

                                           JUDGMENT

 It is hereby ordered, adjudged, and decreed that the opinion issued on this date in this appeal is
 entered as the judgment of this Court.

                                    Entered: February 16, 2021
                          For the Court: DAVID J. SMITH, Clerk of Court
                                       By: Djuanna H. Clark




 ISSUED AS MANDATE 03/17/2021
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           USCA11 Case: 20-10797 Date Filed: 02/16/2021 Page: 1 of 4



                                                           [DO NOT PUBLISH]



               IN THE UNITED STATES COURT OF APPEALS

                        FOR THE ELEVENTH CIRCUIT
                          ________________________

                                No. 20-10797
                            Non-Argument Calendar
                          ________________________

                      D.C. Docket No. 0:19-cr-60244-UU-1



 UNITED STATES OF AMERICA,

                                                                  Plaintiff-Appellee,

                                     versus

 ALAIN BELIZAIRE,

                                                            Defendant-Appellant.

                          ________________________

                   Appeal from the United States District Court
                       for the Southern District of Florida
                         ________________________

                               (February 16, 2021)
Case 0:19-cr-60244-UU Document 69 Entered on FLSD Docket 03/17/2021 Page 4 of 7
           USCA11 Case: 20-10797 Date Filed: 02/16/2021 Page: 2 of 4



 Before WILSON, NEWSOM, and LAGOA, Circuit Judges.

 PER CURIAM:

       Alain Belizaire appeals his sentence of 240 months imprisonment, arguing

 that it is substantively unreasonable. On December 4, 2019, Belizaire pled guilty to

 one count of conspiracy to possess with intent to distribute cocaine, crack cocaine,

 fentanyl, and marijuana, in violation of 21 U.S.C. §§ 841(b)(1)(C), 846. He was

 subsequently sentenced to 240 months imprisonment, followed by three years

 supervised release. Belizaire argues that his sentence is substantively unreasonable

 because the district court failed to impose a sentence that was “sufficient, but not

 greater than necessary” to achieve the goals of punishment, deterrence, and

 rehabilitation, as required under 18 U.S.C. § 3553(a).

       We review the substantive reasonableness of an imposed sentence for an

 abuse of discretion. Gall v. United States, 552 U.S. 38, 51 (2007). “The party

 challenging [the] sentence has the burden of showing that the sentence is

 unreasonable in light of the entire record, the § 3553(a) factors, and the substantial

 deference afforded [to] sentencing courts.” United States v. Rosales-Bruno, 789

 F.3d 1249, 1256 (11th Cir. 2015).

       Section § 3553 governs the imposition of sentences. The sentence imposed

 shall be “sufficient, but not greater than necessary” to reflect the seriousness of the

 offense, provide just punishment, afford adequate deterrence, protect the public


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 from further crimes of a defendant, and provide treatment, care, or training to a

 defendant in the most effective manner. 18 U.S.C. § 3553(a)(2). Among other

 factors, the district court must also consider the “nature and circumstances of the

 offense,” “the history and characteristics of the defendant,” the applicable

 guidelines range, and the “need to avoid unwarranted sentence disparities” among

 people with similar records who were found guilty of similar conduct. Id.

 § 3553(a)(1)–(7).

       While the district court must consider all applicable factors, “how much

 weight to assign a particular sentencing factor is committed to the sound discretion

 of the district court.” Rosales-Bruno, 789 F.3d at 1254 (internal quotation mark

 omitted). The sentencing court may attach “great weight to one factor over others.”

 Id. (internal quotation marks omitted). The district court need not discuss each

 factor explicitly; an acknowledgment that the court “has considered the

 defendant’s arguments and the § 3553(a) factors will suffice.” United States v.

 Gonzalez, 550 F.3d 1319, 1324 (11th Cir. 2008) (per curiam).

       An imposed sentence is substantively unreasonable only when the district

 court “(1) fails to afford consideration to relevant factors that were due significant

 weight, (2) gives significant weight to an improper or irrelevant factor, or

 (3) commits a clear error of judgment in considering the proper factors.”




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 Rosales-Bruno, 789 F.3d at 1256. Ordinarily, a sentence within the guideline range

 is reasonable. Gonzalez, 550 F.3d at 1324.

          Here, Belizaire’s sentence is not substantively unreasonable. The district

 court considered the nature, circumstances, and seriousness of the offense. The

 court acknowledged that Belizaire was remorseful, that he had been cooperating

 with the government—though it had not yet led to an arrest—and that the crime

 had resulted in someone’s death. In light of all of the factors, the judge reasoned

 that a 240-month sentence was appropriate. This sentence is within the guidelines

 range.

          The district court was not required to expressly address each of the § 3553(a)

 factors. Id. It was within the district court’s discretion to give more weight to the

 seriousness and outcome of the offense and less weight to Belizaire’s

 remorsefulness or commitment to rehabilitating himself. Belizaire failed to meet

 his burden to show that his sentence is unreasonable. Accordingly, we affirm.

          AFFIRMED.




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                                      UNITED STATES COURT OF APPEALS
                                         FOR THE ELEVENTH CIRCUIT

                                         ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                                       56 Forsyth Street, N.W.
                                                       Atlanta, Georgia 30303


 David J. Smith                                                                                             For rules and forms visit
 Clerk of Court                                                                                             www.ca11.uscourts.gov


                                                    February 16, 2021

 MEMORANDUM TO COUNSEL OR PARTIES

 Appeal Number: 20-10797-BB
 Case Style: USA v. Alain Belizaire
 District Court Docket No: 0:19-cr-60244-UU-1

 This Court requires all counsel to file documents electronically using the Electronic Case Files ("ECF")
 system, unless exempted for good cause. Non-incarcerated pro se parties are permitted to use the ECF
 system by registering for an account at www.pacer.gov. Information and training materials related to
 electronic filing, are available at www.ca11.uscourts.gov. Enclosed is a copy of the court's decision filed today
 in this appeal. Judgment has this day been entered pursuant to FRAP 36. The court's mandate will issue at a later
 date in accordance with FRAP 41(b).

 The time for filing a petition for rehearing is governed by 11th Cir. R. 40-3, and the time for filing a petition for
 rehearing en banc is governed by 11th Cir. R. 35-2. Except as otherwise provided by FRAP 25(a) for inmate
 filings, a petition for rehearing or for rehearing en banc is timely only if received in the clerk's office within the
 time specified in the rules. Costs are governed by FRAP 39 and 11th Cir.R. 39-1. The timing, format, and content
 of a motion for attorney's fees and an objection thereto is governed by 11th Cir. R. 39-2 and 39-3.

 Please note that a petition for rehearing en banc must include in the Certificate of Interested Persons a complete list
 of all persons and entities listed on all certificates previously filed by any party in the appeal. See 11th Cir. R. 26.1-
 1. In addition, a copy of the opinion sought to be reheard must be included in any petition for rehearing or petition
 for rehearing en banc. See 11th Cir. R. 35-5(k) and 40-1 .

 Counsel appointed under the Criminal Justice Act (CJA) must submit a voucher claiming compensation for time
 spent on the appeal no later than 60 days after either issuance of mandate or filing with the U.S. Supreme Court of
 a petition for writ of certiorari (whichever is later) via the eVoucher system. Please contact the CJA Team at (404)
 335-6167 or cja_evoucher@ca11.uscourts.gov for questions regarding CJA vouchers or the eVoucher system.

 For questions concerning the issuance of the decision of this court, please call the number referenced in the
 signature block below. For all other questions, please call Tonya L. Richardson, BB at (404) 335-6174.

 Sincerely,

 DAVID J. SMITH, Clerk of Court

 Reply to: Djuanna H. Clark
 Phone #: 404-335-6151

                                                                                        OPIN-1 Ntc of Issuance of Opinion
